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Exhibit
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RE: AMA Multimedia, LLC adv. Borjan Solutions S.L. et al. - Arbitrator
Selection

Val Gurvits <vgurvits@bostonlawgroup.com> Sat, Jun 27, 2015 at 9:32 AM
To: Mare Randazza <mjr@randazza.com>

Cc: Ron Green <rdg@randazza.com>, Matthew Shayefar <matt@bostonlawgroup.com>, Evan Fray-Witzer
<Evan@cfwlegal.com>

You shouldn't use anyone. But if you choose to file, you are going to have to use a nationally recognized
arbitration forum. Uncle Bob's Arbitration and Weddings of Las Vegas won't cut it.

Val
Sent from my iPhone

On Jun 27, 2015, at 7:30 PM, Marc Randazza <mjr@randazza.com> wrote:

We are not going to use JAMS, unless you want to agree to Pro.

On Sat, Jun 27, 2015 at 9:24 AM, Val Gurvits<vgurvits@bostonlawgroup.com> wrote:
Ron —

We rejected Pro before; we reject him now. We proposed Gonzalez; you rejected her.

A month ago Marc wrote and said you wanted to go the “old fashioned ranking way,” so we
invited your client to initiate arbitration, even though we think any claims asserted will be
frivolous and subject your client to the attorney’s fee provisions of the agreement.

It’s clear we're not going to agree on an arbitrator. We don't even agree that arbitration is
warranted, as we believe any filing you make will be in bad faith. File, or don’t file. If you do file
and we are forced to respond, we will utilize the ranking system employed by JAMS. Other than
that, we're really not interested in spending more time discussing arbitrators.

Val
Sent from my iPhone

On Jun 27, 2015, at 2:47 AM, Trey Rothell <rgstaff2@randazza.com> wrote:

Mr. Gurvits:

Please find attached a letter from Mr. Green regarding the selection of an arbitrator
in the above-mentioned matter.

Trey Rothell* | Randazza Legal Group

3625 S. Town Center Drive Las Vegas, NV 89135

Tel: 702-420-2001 | Email: rgstaff2@randazza.com

Firm Offices - Las Vegas | Philadelphia | San Francisco | Miami

* Paralegal; not licensed to practice law.

<2015.06.26 RDG Ltr to Gurvits re Serviporno Arbitrator. pdf>

Marc John Randazza, JD, MAMC, LLM | Randazza Legal Group
3625 South Town Center Drive | Las Vegas, NV 89135
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* Licensed to practice law in Arizona, California, Florida, Massachusetts, and Nevada.
